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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 MESA DIGITAL LLC,

                                      Plaintiff,             Case No.
                v.
                                                             Patent Case
 T-MOBILE USA, INC.,
                                                             Jury Trial Demanded
                                      Defendant.



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Mesa Digital LLC (“Mesa”), through its attorney, complains of T-Mobile USA,

Inc. (“T-Mobile”), and alleges the following:

                                                   PARTIES

       1.      Plaintiff Mesa Digital LLC is a limited liability company organized and existing

under the laws of New Mexico that maintains its principal place of business at 117 Bryn Mawr

Drive SE, Albuquerque, NM 87106.

       2.      Defendant T-Mobile USA, Inc. is a corporation organized and existing under the

laws of Delaware that maintains its principal place of business at 12920 SE 38th Street,

Bellevue, WA 98006.

                                            JURISDICTION

       3.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




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       5.      This Court has personal jurisdiction over T-Mobile because it has engaged in

systematic and continuous business activities in the District of Delaware. Specifically, T-Mobile

provides its full range of services to residents in this District. As described below, T-Mobile has

committed acts of patent infringement giving rise to this action within this District and is

incorporated in Delaware.

                                               VENUE

       Venue is proper in this District under 28 U.S.C. §§ 1391(c) and 1400(b) because

T-Mobile is subject to personal jurisdiction in this district and is incorporated in the state of

Delaware. In addition, Mesa has suffered harm in this District.

                                        PATENTS-IN-SUIT

       6.      Mesa is the assignee of assignee of all right, title and interest in United States

Patent Nos. 9,031,537 (the “’537 Patent”) and 9,646,444 (the “’444 Patent”) (collectively, the

“Patents-in-Suit”) including all rights to enforce and prosecute actions for infringement and to

collect damages for all relevant times against infringers of the Patents-in-Suit. Accordingly,

Mesa possesses the exclusive right and standing to prosecute the present action for infringement

of the Patents-in-Suit by T-Mobile.

The ’537 Patent

       7.      On May 12, 2015, the United States Patent and Trademark Office issued the ’537

Patent. The ’537 Patent is titled “Electronic Wireless Hand Held Multimedia Device.” The

application leading to the ’537 Patent was filed on October 23, 2008. A true and correct copy of

the ’537 Patent is attached hereto as Exhibit A and incorporated herein by reference.

       8.      The ’537 Patent is valid and enforceable.




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       9.      The invention in the ’537 Patent provides an improved electronic wireless hand

held multimedia device that has more than one wireless transceiver modules configured for the

receipt, processing and transmission of multimedia data to and from remote data resources over

more than one standard of wireless communication. Ex. A. at 3:61-66.

       10.     The inventors recognized that what would be needed in the future, among other

things, was an electronic wireless hand held multimedia device that could connect to various data

networks and establish short/visible range data connections with electronic devices located in

close proximity, provide multimedia capabilities including remotely accessing and displaying of

video, enabling access to email and multimedia content from the Internet including servers and

the World Wide Web, determining location information and enable the determination and

provision of directions to alternate location by accessing remote map information and displaying

the map information on the display touch sensitive display screen, a technique which can be

referred to as GPS mapping, and enable mobile payments through the device, for example, by

enabling hand held device users to be billed a transaction fee via bank accounts (e.g., ATM,

Debit and Credit cards) billing via communication service accounts or arrangements, and prepaid

services, and other authorized account-related billing arrangements. Id. at 2:64-3:16.

The ’444 Patent

       11.     On May 9, 2017, the United States Patent and Trademark Office issued the ’444

Patent. The ’444 Patent is titled “Electronic Wireless Hand Held Multimedia Device.” The

application leading to the ’444 Patent was filed on February 3, 2015 and is a continuation of the

application leading to the ’537 Patent. A true and correct copy of the ’444 Patent is attached

hereto as Exhibit B and incorporated herein by reference.

       12.     The ’444 Patent is valid and enforceable.




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       13.     The invention in the ’444 Patent provides an improved electronic wireless hand

held multimedia device that has more than one wireless transceiver modules configured for the

receipt, processing and transmission of multimedia data to and from remote data resources over

more than one standard of wireless communication. Ex. B. at 2:5-10.

       14.     The inventors recognized that what would be needed in the future, among other

things, was an electronic wireless hand held multimedia device that could connect to various data

networks and establish short/visible range data connections with electronic devices located in

close proximity, provide multimedia capabilities including remotely accessing and displaying of

video, enabling access to email and multimedia content from the Internet including servers and

the World Wide Web, determining location information and enable the determination and

provision of directions to alternate location by accessing remote map information and displaying

the map information on the display touch sensitive display screen, a technique which can be

referred to as GPS mapping, and enable mobile payments through the device, for example, by

enabling hand held device users to be billed a transaction fee via bank accounts (e.g., ATM,

Debit and Credit cards) billing via communication service accounts or arrangements, and prepaid

services, and other authorized account-related billing arrangements. Id. at 3:5-24.

                             COUNT I: INFRINGEMENT OF THE ’537 PATENT

       15.     Mesa incorporates the above paragraphs herein by reference.

       16.     Direct Infringement. T-Mobile has been and continues to directly infringe at

least claim 1 of the ’537 Patent in this District and elsewhere in the United States by providing a

device, for example, T-Mobile’s Coolpad Defiant (“Defiant”) that has an electronic wireless

hand held multimedia device. For example, T-Mobile’s Defiant is an electronic wireless hand

held multimedia device. See Figure 1; https://coolpad.us/products/defiant/.




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      Figure 1. T-Mobile’s Defiant is an electronic wireless hand held multimedia device.

       17.     T-Mobile provides a device with at least one of a wireless unit and a tuner unit

supporting bi-directional data communications of data including video and text for the electronic

wireless hand held multimedia device with remote data resources over cellular

telecommunications networks, over wireless local area networks and over a direct wireless

connection with electronic devices located within short range using Bluetooth communications

after accepting a passcode from a user of the multimedia device during the communications. For

example, T-Mobile’s Defiant supports data communication over network LTE, WiFi, and

Bluetooth. See Figure 2; https://coolpad.us/products/defiant/specs/.




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  Figure 2. T-Mobile’s Defiant supports data communication over LTE, WiFi, and Bluetooth.

       18.     T-Mobile provides a device with a touch sensitive display screen configured to

display the data including video and text received by the electronic wireless hand held

multimedia device by selecting a particular data represented by a soft button on said touch

sensitive display screen of the multimedia device. For example, T-Mobile’s Defiant has a touch

sensitive display screen allowing users to select data on the touch screen. See Figure 3;

https://www.youtube.com/watch?v=7dYfiREGWeg.




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     Figure 3. T-Mobile’s Defiant has a touch sensitive display screen allowing users to select
                                    data on the touch screen.

       19.     T-Mobile provides a device with a microprocessor configured to facilitate

operation of and communications by the electronic wireless hand held multimedia device. For

example, T-Mobile’s Defiant has a 1.4GHz quad-core processor. See Figure 4;

https://coolpad.us/products/defiant/.




                  Figure 4. T-Mobile’s Defiant has a 1.4GHz quad-core processor.




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       20.     Induced Infringement. T-Mobile has also actively induced, and continues to

induce, the infringement of at least claim 1 of the ’537 Patent by actively inducing its customers,

including merchants and end-users to use T-Mobile’s products in an infringing manner as

described above. Upon information and belief, T-Mobile has specifically intended that its

customers use its products that infringe at least claim 1 of the ’537 Patent by, at a minimum,

providing access to support for, training and instructions for, its system to its customers to enable

them to infringe at least claim 1 of the ’537 Patent, as described above. Even where performance

of the steps required to infringe at least claim 1 of the ’537 Patent is accomplished by T-Mobile

and T-Mobile’s customer jointly, T-Mobile’s actions have solely caused all of the steps to be

performed.

       21.     Mesa is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

       22.     Mesa will continue to be injured, and thereby caused irreparable harm, unless and

until this Court enters an injunction prohibiting further infringement.

                            COUNT II: INFRINGEMENT OF THE ’444 PATENT

       23.     Mesa incorporates the above paragraphs by reference.

       24.     Direct Infringement. T-Mobile has been and continues to directly infringe at

least claim 1 of the ’444 Patent in this District and elsewhere in the United States by providing a

device, for example, T-Mobile’s Defiant that has an electronic wireless hand held multimedia

device. For example, T-Mobile’s Defiant is an electronic wireless hand held multimedia device.

See Figure 5; https://coolpad.us/products/defiant/.




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      Figure 5. T-Mobile’s Defiant is an electronic wireless hand held multimedia device.

       25.     T-Mobile provides a device with at least one of a wireless unit and a tuner unit

supporting bi-directional data communications of data including video and text for the electronic

wireless hand held multimedia device with remote data resources over cellular

telecommunications networks, over wireless local area networks and over a direct wireless

connection with electronic devices located within short range using Bluetooth communications

after accepting a passcode from a user of the multimedia device during the communications. For

example, T-Mobile’s Defiant has Bluetooth capabilities allowing for communication over

cellular telecommunications networks over wireless local area networks and over a direct

wireless connection with electronic devices. See Figure 6;

https://coolpad.us/products/defiant/specs/.




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    Figure 6. T-Mobile’s Defiant supports data communication over network LTE, WiFi, and
                                          Bluetooth.

       26.     T-Mobile provides a device with a touch sensitive display screen configured to

display the data including video and text received by the electronic wireless hand held

multimedia device by selecting a particular data represented by a soft button on said touch

sensitive display screen of the multimedia device. For example, T-Mobile’s Defiant has a touch

sensitive display screen allowing users to select data on the touch screen. See Figure 7;

https://www.youtube.com/watch?v=7dYfiREGWeg.




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 Figure 7. T-Mobile’s Defiant has a touch sensitive display screen allowing users to select data
                                      on the touch screen.

       27.     T-Mobile provides a device with a microprocessor configured to facilitate

operation of and communications by the electronic wireless hand held multimedia device. For

example, T-Mobile’s Defiant has a 1.4GHz quad-core processor. See Figure 8;

https://coolpad.us/products/defiant/.




                  Figure 8. T-Mobile’s Defiant has a 1.4GHz quad-core processor.




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        28.     T-Mobile provides a device with a video camera, enabling the capture, storage,

processing, and transmission of video and pictures. For example, T-Mobile’s Defiant has a

camera for taking photos or recording video. See Figure 5.

        29.     Induced Infringement. T-Mobile has also actively induced, and continues to

induce, the infringement of at least claim 1 of the ’444 Patent by actively inducing its customers,

including merchants and end-users to use T-Mobile’s products in an infringing manner as

described above. Upon information and belief, T-Mobile has specifically intended that its

customers use its products that infringe at least claim 1 of the ’444 Patent by, at a minimum,

providing access to support for, training and instructions for, its system to its customers to enable

them to infringe at least claim 1 of the ’444 Patent, as described above. Even where performance

of the steps required to infringe at least claim 1 of the ’444 Patent is accomplished by T-Mobile

and T-Mobile’s customer jointly, T-Mobile’s actions have solely caused all of the steps to be

performed.

        30.     Mesa is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

        31.     Mesa will continue to be injured, and thereby caused irreparable harm, unless and

until this Court enters an injunction prohibiting further infringement.

                                           JURY DEMAND

        32.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Mesa respectfully

requests a trial by jury on all issues so triable.




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                                        PRAYER FOR RELIEF

       WHEREFORE, Mesa asks this Court to enter judgment against T-Mobile, granting the

following relief:

      A.      A declaration that T-Mobile infringed the Patents-in-Suit;

      B.      An award of damages to compensate Mesa for T-Mobile’s direct infringement of

              the Patents-in-Suit;

      C.      An order that T-Mobile and its officers, directors, agents, servants, employees,

              successors, assigns, and all persons in active concert or participation with them, be

              preliminarily and permanently enjoined from infringing the Patents-in-Suit under

              35 U.S.C. § 283;

      D.      An award of damages, including trebling of all damages, sufficient to remedy

              T-Mobile’s willful infringement of the Patents-in-Suit under 35 U.S.C. § 284;

      E.      An accounting of all damages not presented at trial;

      F.      A declaration that this case is exceptional, and an award to Mesa of reasonable

              attorneys’ fees, expenses and costs under 35 U.S.C. § 285;

      G.      An award of prejudgment and post-judgment interest; and

      H.      Such other relief as this Court or jury may deem proper and just.

Dated: November 28, 2018                     Respectfully submitted,

                                             /s/ Timothy Devlin
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